












Dismissed and Memorandum Opinion filed December 31,
2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-01013-CR

____________

&nbsp;

AFFINCIE LEE BRINSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 180th District Court

Harris County, Texas

Trial Court Cause No. 1233297

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to possession of a weapon by
a felon. &nbsp;In accordance with the terms of a plea bargain agreement with the
State, the trial court sentenced appellant on October 21, 2009, to confinement
for eight years in the Institutional Division of the Texas Department of
Criminal Justice. &nbsp;We dismiss the appeal.&nbsp; 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal. &nbsp;See Tex. R. App. P. 25.2(a)(2). &nbsp;The trial court’s
certification is included in the record on appeal.&nbsp; See Tex. R. App.
P. 25.2(d). &nbsp;The record supports the
trial court’s certification. See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Yates, Seymore, and Brown. 

Do Not Publish — Tex. R. App. P. 47.2(b)





